Case 1:23-cv-12291-JEK | Document 1-1

JS 44 (Rev. 10/20)

provided by local rules of court
pas of initiating the crvil docket sheet

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

Filed 10/04/23

Page 1 of 2

This form. approved by the Judicial Conference ’of the’ United States in September 1974, is required for the use of the Clerk of Court for the
(SEE INSTRUCTIONS ON NEXT PAGE ‘OF THIS FORM)

I. (a) PLAINTIFFS

BRIAN LANGHAMMER, PRO SE

(b) County of Residence of First Listed Plainuff

399 0

SUMMIT COUNTY, CC

DEFEN DANTS

_ TOWN, OF TISBURY, JEFF DAY, DETECTIVE CHARLES

- ~“DUQUETTE/ OFFICER SCOTT OGDEN, SERGEANT MAX

(EXCEPT IN US, PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number}

NOTE

Attorneys (// Reon

County of Residence of

IN LAND CONDEN
THE TRACT OF LAND INVOLVE

First Listed Defendant DUKES
(NUS. PLAINTIFE CASES ONLY)
ATION CAS USE THE LOCATION OF

NTY, MAS

Il.
Cj!

U.S. Government
Plaintiff

C2 U.S. Goverment
Defendant

BASIS OF JURISDICTION (rice an “1”

in One Box Only)

[x]3

Federal Question
(00S. Government Nota Party)

L]4 Diversity

tndicate Citizenship of Parties im [tem {I}

(hor Diversity Cases Only)

Citizen of This State

CJ!
Citizen of Another State

[x] 2
[3

Citizen or Subject of a

IH. CITIZENSHIP OF PRINCIPAL PARTIES (riace an "x"

and One Box for Defendant)
PTF

Os
D

DEF
[x] 1 Incorporated or Principal Place
of Business In This State

a

[] 2

Incorporated and Principal Place
of Business In Another State
C] 3 Cc] 6

Foreign Nation

mm One Box for Plaintiff

DEF

[x]4
LJ:
L]e

Foreign Country

IV. NATURE OF SUIT (etace an “x” in One Box Only)

| CONTRACT

TORTS

FORFEITURE/PENALTY

BANKRUPTCY

Click here for; Nature of Suit Code Descriptions.
= —— --

OTHER STATUTES |

110 Insurance
120 Marine

[J 150 Recovery of Overpayment
& Enforcement of Judgment
Student Loans
(Excludes Veterans)

[_] 160 Stockholders” Suits

|_| 190 Other Contract

130 Miller Act
140 Negotiable Instrument
15] Medicare Act
152 Recovery of Defaulted
i=] 153 Recovery of Overpayment
of Veteran's Benefits
[| 195 Contract Product Liability
|} 196 Franchise

PERSONAL INJURY

310 Airplane

315 Airplane Product
Liabilins

320 Assault, Libel &
Slander

330 Federal Employers’
Liability

340 Marine

345 Marine Product

Liability

350 Motor Vehicle

355 Motor Vehicle
Product Liability
| 360 Other Personal
Injury
| 362 Personal Injury -
Medical Malpractice

PERSONAL INJURY
C] 365 Personal Injury -
Product Liability
[_] 367 Health Care
Pharmaceutical
Personal Injury
Product Liability
CT 368 Asbestos Personal
Injury Product
Liability
PERSONAL PROPERTY
370 Other Fraud
371 Truth in Lending
[] 380 Other Personal
Property Damage
ql 385 Property Damage
Product Liability

REAL PROPERTY

CIVIL RIGHTS

PRISONER PETITIONS

| 625 Drug Related Seizure
of Property 21 USC 881

P]690 Other

422 Appeal 28 USC 158
| 423 Withdrawal

28 USC 157

375 False Claims Act

376 Qui Tam (31 USC
3729%a))

400 State Reapportionment

F

PROPERTY RIGHTS

410 Antitrust

820 Copyrights

830 Patent

835 Patent - Abbreviated
New Drug Application

$40 Trademark

LABOR

880 Defend Trade Secrets

710 Fair Labor Standards
Act
|_| 720 Labor/Management
Leave Act

Relations
790 Other Labor Litation

210 Land Condemnation
220 Foreclosure

230 Rem Lease & Ejectment
240 Tons to Land

245 Tort Product Liability
|_| 290 All Other Real Property

LT_ILi

440 Other Civil Rights

441 Voting

442 Employment

443 Housing’
Accommodations

445 Amer. w/Disabilities -
Employment

446 Amer. w/Disabilities -
Other

448 Education

Habeas Corpus:

|_| 463 Alien Detainee

[| 510 Motions to Vacate

Sentence

| | 530 General

| | 538 Death Penalty

Other:

540 Mandamus & Other

350 Civil Rights

355 Pnson Condition

560 Civil Detainee -
Conditions of
Confinement

4

740 Railway Labor Act

751 Family and Medical
| j791 Employee Retirement

Income Security Act

Act of 2016

430 Banks and Banking

450 Commerce

. | 460 Deportation

i 470 Racketeer Influenced and
Corrupt Organizations

| | 480 Consumer Credit

(15 USC 1681 or 1692)

fal 485 Telephone Consumer

861 HIA (1395ff)
862 Black Lung (923)
863 DIWC/DIWW (405(2))
864 SSID Title XVI
[_] 865 RSI (403(2))

SOCIAL SECURITY

Protection Act

490 Cable/Sat TV
850 Securities/Commodities’
Exchange
890 Other Statutory Actions
|_| 891 Agricultural Acts
893 Environmental Matters

AL TAX SUITS

895 Freedom of Information

i | 870 Taxes (U.S. Plaintiff
or Defendant)
[| 871 IRS—Third Party

IMMIGRATION

26 USC 7609

462 Naturalization Application
465 Other Immigration
Actions

Act
896 Arbitration
899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of
State Statutes

V. ORIGIN (lace an "x"
| Original 2
Proceeding

in One Box Only)
Removed from 3
State Court

Remanded trom
Appellate Court

C4 Reinstated or Cc

Reopened

5 Transterred from
Another District
(specify)

Transfer

Cc 6 Multidistrict
Litigation -

C 8 Multidistrict
Litigation -
Direct File

Cite the U

VI. CAUSE OF ACTION

U.S. CODE 42. §§ 1983 AND 1985

S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity)

Brief description of cause:

False Arrest, Malicious Prosecution, Illegal Search, Illegal Seizure, Defamation, Intentional Infliction of Emotional Distress

VIL. REQUESTED IN (1) CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, FR.CvP 6,535,000 JURY DEMAND: [X]¥es No
VII. RELATED CASE(S)
IF ANY CENCE ee DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD

October 3, 2023

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE

MAG. JU

DGE

Case 1:23-cv-12291-JEK Documenti1-1 Filed 10/04/23 Page 2 of 2

UNITED STATES DISTRICT COURT be
DISTRICT OF MASSACHUSETTS Be

1. Title of case (name of first party on each side only) SA en
BRIAN LANGHAMMER V TOWN OF TISBURY QU Ut th AM the

2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local .
rute 40.1 (a}(1)). SS ad

y

I. 160, 400, 410, 441, 535, 830*, 835*, 850, 880, 891, 893, R.23, REGARDLESS OF NATURE OF SUIT.

I. 110, 130, 190, 196, 370, 375, 376, 440, 442, 443, 445, 446, 448, 470, 751, 820*, 840*, 895, 896, 899.

[ | Ill. 120, 140, 150, 151, 152, 153, 195, 210, 220, 230, 240, 245, 280, 310, 315, 320, 330, 340, 345, 350, 355, 360, 362,
365, 367, 368, 371, 380, 385, 422, 423, 430, 450, 460, 462, 463, 465, 480, 435, 490, 510, 530, 540, 550, 555, 560,
625, 690, 710, 720, 740, 790, 791, 861-865, 870, 871, 890, 950.
*Also complete AO 120 or AO 121. for patent, trademark or copyright cases.

3. Title and number, if any, of related cases. (See local rule 40.1(g)). |f more than one prior related case has been filed in this
district please indicate the title and number of the first filed case in this court.

4. Has a prior action between the same parties and based on the same claim ever been "l in this court?

no |Y|

5. Does the complaint tn this case question the constitutionality of an act of congress affecting the public interest? (See 28 USC

§2403)
YES LJ NO
YES LJ NO []

6. Is this case required to be heard and determined by a district court of three judges PT to title 28 USC §22847

YES NO

7. Do all of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
Massachusetts (“governmental agencies”), residing in Massachusetts reside in “wi division? - rl Rule 40.1(d)).

YES

If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

YES NO
A. If yes, in which lv) ali of the non-governmental parties reside?
Eastern Division Central Division | Western Division []
B. If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,

residing in Massachusetts reside?

Eastern Division LJ Central Division L] ‘ Western Division LC]

8. If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,
submit a separate sheet identifying the motions)
vs LJ} wo LI

(PLEASE TYPE OR PRINT)
ATTORNEY'S NAME “PLAINTIFF IS PRO SE”

ADDRESS PO BOX 1680 FAIRPLAY, CO 80440

TELEPHONE NO, 508-499-9660

(CategoryForm11-2020.wpd )
